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December 20, 2024

E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:    Kadrey, et al v. Meta Platforms, Inc.; Case No. 23-cv-03417-VC (TSH)

Dear Judge Hixson:
       The parties jointly submit this letter brief concerning Plaintiffs’ request to reopen
depositions of certain Meta fact witnesses. The parties met and conferred on December 17, 2024,
but were unable to reach a resolution.
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    II.     META’S STATEMENT
This brief continues an ongoing pattern of baseless finger-pointing by Plaintiffs to justify
discovery beyond that authorized by the Court. To be clear, there was no eleventh-hour document
“dump” by Meta. Friday was the close of fact discovery, and Meta—unsurprisingly—completed
its production on that date. Plaintiffs did the same, producing many of their documents at or near
the end of the fact discovery period, and after their depositions.2 All along, Plaintiffs were fully
on notice that Meta was diligently continuing its collection and production of documents from new
Court-ordered custodians (Dkt. 212), in response to Plaintiffs’ new RFPs and numerous requests
in meet and confers, and in response to recent Court Orders requiring supplementation and/or
additional document collections (Dkt. 288 (Nov. 25, 2024); Dkt. 315 (Dec. 6, 2024)). This is not
“sandbagging”; Meta was complying with discovery obligations and court orders. Any request for
additional deposition time based on recent document productions is improper and unjustified.
Plaintiffs incorrectly argue that Meta held back certain documents that should have been produced
earlier, and thus would have been available for the six depositions they now seek to reopen. This
is unfounded and ignores the timing of Plaintiffs’ own requests and the Court’s orders. Plaintiffs’
first wave of requests, which were served by April, were relatively narrow. Meta conducted a
reasonable search, collected from potentially relevant custodians, and then reviewed and
responded to those specific requests in advance of the July substantial document completion
deadline and the original September 30 fact discovery cut-off. Plaintiffs then sought to extend
discovery and Meta responded to a second wave of broader RFPs over the last few months:
September 30 (Meta Resp. to Pltfs’ RFPs 76-78, 4th Set); November 8 (Meta Resp. to Pltfs’ RFPs
79-130, 5th Set); November 18 (Meta Resp. to Pltfs’ RFPs 131-136, 6th set). On October 4, the
Court also granted Plaintiffs’ request to add five (5) ESI custodians and ordered Meta to produce
documents from those custodians. (Dkt. 212). As Meta explained, this process took over 8 weeks
to complete for its original custodians (Dkt. 190 at 8; Dkt. 190-8 ¶¶ 2-4). Plaintiffs never
challenged that production timetable. Meta’s production over the last several weeks, culminating
in its December 13 production, reflects those custodial searches and its updated productions in
response to Plaintiffs’ 4th through 6th set of RFPs.
To respond to these requests, Meta, inter alia, re-reviewed the previously collected documents and
conducted additional searches (including for the new custodians). Thus, to the extent the document
metadata has a June capture date, this was because the document was collected, but not responsive
to Plaintiffs’ earlier narrower requests. And to the extent the document has a September capture
date but was not produced until more recently, this is simply due to the time it takes to review and
produce documents, which Meta made clear to Plaintiffs. (Dkt. 190-8.) Meta did not deliberately
hold back relevant materials but instead reviewed and produced documents based on Plaintiffs’

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 Indeed, contrary to the Court’s scheduling order, many Plaintiffs produced the majority of their
document productions after their depositions. See Ex. F (table illustrating Plaintiffs productions
pre- and post-deposition). And on several occasions, Plaintiffs produced thousands of pages of
documents the day before their depositions, yet Meta and its smaller team of outside lawyers
expedited review and went forward with their depositions. As just one example, Mr. Farnsworth
produced over 1,400 of his 1,449 documents a few business days before his deposition, yet Meta
did the work and took his deposition as scheduled. No depositions should be reopened, but if the
Court entertains Plaintiffs’ unjustified requests to reopen, then by the same logic all 13 Plaintiffs’
depositions would need to be reopened too.


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newly served requests. In addition, over the past two months the parties engaged in various meet
and confers about existing RFP responses and the Court issued several discovery orders. See, e.g.
Dkt. 288. As a result, previously preserved and collected documents were re-reviewed for
responsiveness as discovery parameters changed. Meta then diligently worked to produce these
newly responsive documents in rolling productions before the close of discovery. 3
In short, there is no basis for Plaintiffs to complain that they did not have documents in time for
depositions, when they delayed serving RFPs calling for those documents and took those
depositions, as the Court ordered, with full knowledge that document productions were ongoing.
See Dkt. 231 (“The Court therefore needs to ensure that Plaintiffs expeditiously proceed with
depositions with the documents they already have and don’t wait until they get more documents.”).
There is no justification for additional time with Ms. Kambadur, Dr. Presani, Mr. Bashlykov,
and Mr. Edunov. Plaintiffs’ demand for more deposition time with the following witnesses rings
particularly hollow given the timing of the depositions and Plaintiffs’ second wave of RFPs:
Kambadur (September 17); Presani (September 26); Edunov (November 6); Pineau (November
6); and Bashlykov (December 5-6). At Plaintiffs’ election, the Kambadur and Presani depositions
occurred before Plaintiffs even served the second wave of RFPs. Plaintiffs also chose to take
Presani’s deposition before Presani was even added as a custodian (and asked Presani questions
about the same language they now try to use to justify a new deposition). The remaining three
depositions occurred during the windows specifically requested by Plaintiffs and in the midst of
Plaintiffs’ second wave of RFPs (in some cases before Meta’s responses were even due). 4
If Plaintiffs wanted to use certain documents with a witness, they should have either asked for the
documents sooner or asked to depose the witnesses later in the discovery process. Meta diligently
searched for and produced documents as requests were made, and it could not accelerate the
timetable required for ESI review and production. In all events, Plaintiffs have provided no valid
basis for deposition time with these 5 witnesses, particularly when they already have had a full 7
hours with 25 fact witnesses and over 16 hours of 30(b)(6) testimony, and were able to explore the
very subjects, including licensing and        , they now want cumulative testimony on.
There is no justification for additional time with Mr. Zuckerberg. Plaintiffs’ request for more
time with Mr. Zuckerberg—which Plaintiffs were determined to seek since even before his
deposition—is a blatant effort to harass him and violate the parties’ agreement. To avoid motion
practice, the parties agreed to certain conditions including 4.5 hours on the record. Plaintiffs used
the entire 4.5 hours and completed his deposition on December 17. They strategically chose not
to use certain documents at his deposition. Plaintiffs are not entitled to more time with him.
Notably, three days before the deposition (December 15), Plaintiffs complained about the
documents they received from Mr. Zuckerberg’s custodial file on December 13. They claimed that
“some of the documents” “appear to be the most relevant produced in discovery thus far,” and
threatened to file a motion if Meta did not agree to postpone or extend the deposition. Ex. D
(emphasis added). Meta investigated and responded to Plaintiffs’ baseless accusations, explaining

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  For example, Meta produced rolling productions of documents on October 2 and 7; November 1,
4, 8, 11, 12, 15, 18, 19, 25, and 29; and December 2, 4, 11, 12, and 13.
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  Ms. Pineau and Mr. Bashlykov were deposed in Montreal and London, respectively, where they
live and work. Setting aside that the request is unjustified, it would be logistically prohibitive to
reopen these internationally based witness depositions given the holidays and expert deadlines.


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that of the 1,436 total custodial documents for Mr. Zuckerberg produced in discovery, only 144
documents were produced on December 13. Meta objected to any further deposition and reiterated
that the production “can and should be addressed as Plaintiffs’ counsel sees fit at Mr. Zuckerberg’s
deposition tomorrow.” Id.
Then, the day before Mr. Zuckerberg’s deposition, Plaintiffs made another unspecified threat that
the production “may also prompt a request for additional deposition time of Mr. Zuckerberg.” Ex.
E. And on the parties’ meet and confer on December 17—just minutes after Mr. Zuckerberg’s
deposition completed, Plaintiffs told Meta they would be requesting an additional hour with Mr.
Zuckerberg. Plaintiffs then sent this motion, and its detailed discussion (and mischaracterization)
of Meta_Kadrey_000211699, less than 24 hours after Mr. Zuckerberg’s deposition.
The record belies any notion that Plaintiffs found the document they now claim justifies more time
with Mr. Zuckerberg only after the deposition. To the contrary, Plaintiffs intended to ask for more
time regardless and did not take diligent steps to use the document they cite (and/or other
documents about which they complain). Moreover, the document does not state what Plaintiffs
allege; it was not drafted or sent to Mr. Zuckerberg; and it does not support the nefarious
conclusions Plaintiffs seek to draw from it. Plaintiffs used their time with Mr. Zuckerberg as they
chose—at times, asking the same questions over and over, and questioning him throughout on
others’ documents, not documents that were sent to or received by him. No additional time is
warranted, let alone based on a single document that Plaintiffs had and chose not to use.
   III.     PLAINTIFFS’ REPLY
        Meta attempts to explain why it waited six months to produce some of the most relevant
documents) in the entire case: apparently, they simply “weren’t responsive” to Plaintiffs’ initial
RFPs. Yet if Meta withheld these documents because they “weren’t responsive,” that is the worst
possible explanation. It means a Meta attorney reviewed these documents long ago (which plainly
hit on Meta’s original search terms, as shown in Dkt. No. 321-2), but conveniently decided that all
the                                                                were not responsive to any of
Plaintiffs’ 50 original RFPs, including, but not limited to, RFPs about “The Training Data” for
Llamas 1-3 and RFPs about any efforts to license training data from copyright holders.
        Regardless of whether Meta intentionally withheld these documents, Plaintiffs’ request for
additional deposition time with the listed witnesses is still warranted. These documents do not
merely add color to the deposition testimony. Instead, they reflect repeated instances where
answers in deposition were directly contradicted by documents. That is why Plaintiffs request
further deposition time. And that includes Mr. Zuckerberg, who should be questioned, as Meta’s
CEO, about
            As it stands, because no other document (and, conspicuously, not a single witness)
speaks to                                                                it is especially important
that he be questioned about that document. The document directly implicates him, but was not in
his custodial files. Plaintiffs did review the new Zuckerberg custodial documents in time for his
deposition, but this document was not one of them—it was one of the 2,300 other new documents.
        As to any of Plaintiffs’ document productions that occurred after the corresponding
plaintiffs were deposed, Meta misses the point. Plaintiffs acknowledge the inevitability that some
documents would be produced after their depositions. The problem, again, is that Meta’s late-
produced documents are the most probative documents in the entire case; were collected months
before the depositions; and directly contradict the witnesses’ sworn testimony.



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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)

       I hereby attest that I obtained concurrence in the filing of this document from each of the

other signatories. I declare under penalty of perjury that the foregoing is true and correct.



Dated: December 20, 2024                                      BOIES SCHILLER FLEXNER LLP


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